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                    Exhibit X
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    From: Hwang, Bill
    Sent: Monday; January 05, 2009 8:47 PM
    To: Park, Raymond; Tomita, William
    Subject: Re: CCB

    Correct!

    - Original Message -­
    From: Park, Raymo,nd
    To: Hwang, Bill; Tomita, William
    Sent: Mon Jan 05 20:46:05 2009
    Subject: RE: CCB

    Got it. Cancels the previous instructions.

    -Original Message-
    From: Hwang, Bill
    Sent: Monday, Janl,lary 05, 2009 8:45 PM
    To: Park, Raymond; Tomita, William
    Subject: CCB

    Today
    let's
    1) short $30 mil. AND long buy $10 mil during the regular session
    2) And then, Long sell $5 mil at the Auction.




                                                                            GOVERNMENT
                                                                              EXHIBIT
                                                                               2753
                                                                              22 Cr. 240 (AKH)




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